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1                                               THE HONORABLE RICHARD A. JONES

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4
                              UNITED STATES DISTRICT COURT
5
                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                        SEATTLE
6
         BLACK LIVES MATTER SEATTLE            No. 2:20-CV-00887-RAJ
7        KING COUNTY, ABIE EKENEZAR,
         SHARON SAKAMOTO, MURACO               REPLY IN SUPPORT OF MOTION
8        KYASHNA-TOCHA, ALEXANDER              FOR ORDER TO SHOW CAUSE
         WOLDEAB, NATHALIE GRAHAM,             WHY CITY OF SEATTLE SHOULD
9        AND ALEXANDRA CHEN,                   NOT BE HELD IN CONTEMPT
10                      Plaintiffs,            NOTE ON MOTION CALENDAR:
                                               November 18, 2020
11                 v.                          Oral Argument Requested
12       CITY OF SEATTLE,

13                      Defendant.

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     REPLY IN SUPPORT OF MOTION FOR CONTEMPT
     (No. 2:20-cv-887 RAJ)
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1                                                 I.       ARGUMENT

2        A. The City Asserts the Wrong Legal Standard in an Attempt to Rewrite the
            Preliminary Injunction.
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              The City of Seattle twice stipulated to injunctive orders governing its conduct that
4
     expressly apply to the actions of individual SPD officers, with full knowledge that violations of
5
     such orders by its officers could result in a contempt finding. The Court should decline the City’s
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     invitation to rewrite the legal standard for contempt and narrow the scope of the preliminary
7
     injunction. Because the City has failed to prove that it substantially complied with the Court’s
8
     orders, Plaintiffs’ motion should be granted.
9
              1.       The Civil Contempt Standard Governs this Motion, not Monell.
10
              The City incorrectly claims that Monell applies to Plaintiffs’ motion for contempt.1
11
     Monell governs municipal liability for constitutional violations in § 1983 civil rights suits, not
12
     contempt allegations when a municipality has already been enjoined. See Monell v. Dep’t of Soc.
13
     Servs. of City of New York, 436 U.S. 658, 691 (1978). Plaintiffs are only required to show that
14
     SPD officers violated the Court’s orders, not that such violations would create liability under
15
     Monell. Cases applying Monell are inapposite to a contempt proceeding where a municipality has
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     stipulated to an Order that explicitly governs conduct of its police department or its officers.
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              Applying the correct standard for civil contempt, Plaintiffs must prove “by clear and
18
     convincing evidence that the [nonmoving party] violated a specific and definite order of the
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     court.” F.T.C. v. Affordable Media, 179 F.3d 1228, 1239 (9th Cir. 1999). Plaintiffs’ motion and
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21   1
       The City’s Monell argument is untimely; it did not raise Monell in its prior filings in connection with this motion.
     See ECF 78; ECF 135. The Court should also reject the City’s renewed request that the Court “identify
22   deployments” alleged to be in violation of the Order and allow the City additional time to gather evidence. ECF 144
     at 8 n.5. The City has been on notice as to the scope of this motion and evidence at issue, agreed to a process for
     adjudicating this motion, had the opportunity to file both an initial and supplemental response, and had months to
23   review every use of a LLW on the four dates in question. No further process is due or necessary.


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1    supporting declarations, as well as the City’s own evidence and admissions, establish that SPD

2    officers repeatedly violated several specific and definite provisions of this Court’s orders.

3    Plaintiffs need not prove more.2

4             2.       The City Violated the Court’s Orders.

5             The City asserts that the Court’s orders “do not apply to those engaged in criminal

6    conduct” or “unlawful activities” such as blocking traffic or littering. ECF 144 at 6. That is both

7    irrelevant and incorrect. First, this argument is non-responsive to Plaintiffs’ extensive and

8    unrebutted evidence that SPD deployed less-lethal weapons (“LLWs”) against many people

9    peacefully engaging in protests. Second, it finds no basis in the orders themselves, which do not

10   authorize the City to use LLWs against any protester suspected of committing any kind of

11   infraction3; rather, the orders allow SPD to use LLWs at protests only when “necessary,

12   reasonable, proportional, and targeted . . . to protect against a specific imminent threat of

13   physical harm to themselves or identifiable others or to respond to specific acts of violence or

14   destruction of property.” ECF 42 at 2 (emphasis added). Equally unavailing is the City’s

15   argument that unlawful acts by a small minority of people in attendance at a protest strip other

16   protesters of the protections of this Court’s orders.4 The City wrongly claims that this Court’s

17   orders “acknowledge[] that in the event of an unlawful assembly or riot it may not be feasible for

18   CCW deployments to be as specifically targeted as would be expected during lawful

19

20   2
       See, e.g., Labor/Cmty. Strategy Ctr. v. Los Angeles Cty. Metro. Transp. Auth., 564 F.3d 1115, 1130 (9th Cir. 2009)
     (rejecting MTA’s attempt to show substantial compliance “by formulating a different measure of load improvement
21   than the parties’ bargain required”); Bradford Techs., Inc. v. NCV Software.com, No. C 11-04621 EDL, 2013 WL
     75772, at *7 (N.D. Cal. Jan. 4, 2013) (“no ‘substantial compliance’ when an SPO is directly violated”).
     3
22     The City must comply with the requirements of the order, regardless of whether the protester was allegedly
     committing an infraction such as littering (ECF 144 at 9), blocking the road (id. at 8), “obstructing a police officer”
     (ECF 147-1 at 15), or “failure to disperse” (id.).
23   4
       See also N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 933-43 (1982) (rejecting the call to impute specific
     violent acts to an entire protest during the civil rights movement).

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1    demonstrations[.]” ECF 144 at 4 (citing Clarified PI). The Clarified PI contains no such

2    language. To the contrary, the Clarified PI—to which the City voluntarily agreed—specifically

3    states that “[d]eclaring a protest to be an unlawful assembly or a riot does not exempt the City

4    from its obligation to comply with this Order[.]” ECF 110 at 5 (emphasis added). That provision

5    makes clear that SPD cannot circumvent the PI by declaring an entire protest to be unlawful.

6    B.      The City Has Failed to Present Evidence Sufficient to Show Substantial Compliance
             With the Court’s Orders.
7
             1.     The City Failed to Address Numerous Deployments of Less-Lethal Weapons
8                   Described in Plaintiffs’ Motion.

9            It is not enough for the City to show that it instructed SPD officers on the Court’s orders;

10   the City must also show that its officers substantially complied with them. But the City fails to

11   address much of Plaintiffs’ evidence that SPD used LLWs against peaceful protestors in a

12   manner that was indiscriminate, unreasonable, disproportionate, and unnecessary to prevent

13   specific injury or destruction of property.

14           For example, on August 26, SPD deployed OC spray and a number of blast balls against

15   peaceful vigil attendees. ECF 116 ¶ 21; ECF 118 ¶¶ 11-14; ECF 117 ¶¶ 9, 15; ECF 134 ¶ 8. Yet

16   the City provides no justification for a number of these deployments or provides an explanation

17   plainly inconsistent with video evidence. Compare ECF 145, Ex. A (“Video A”) at 41:59 (blast

18   ball deployed at retreating crowd) with ECF 145-1 at 3 (acknowledging blast ball without

19   explanation); compare ECF 146-1 at 19 (explaining OC spray deployed at protestors “assaulting

20   an officer”) with Video A at 43:20 (showing officer striking protestor and deploying OC spray

21   and no footage of protestors assaulting officers).

22           On September 23, SPD deployed at least 22 blast balls, but the City provided no

23   explanation or video footage for a number of these deployments. See, e.g., ECF 144 at 12-13


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1    (failing to address any blast ball deployments on Sept. 23); ECF 145-1 at 15 (listing no video

2    evidence for use of blast balls). There are seven Use of Force Reports (“UFRs”) where officers

3    state they deployed as many as six blast balls each on September 23, but body-worn video

4    (“BWV”) was not provided for any of those officers. ECF 146-2 at 2, 42, 54, 63, 92, 124, 162.

5    The only BWV provided where the officer throws a blast ball on September 23 is Officer

6    Eastgard’s. ECF 145, Ex. C (“Video C”) at 47:55, 50:05 (throwing blast balls across intersection

7    and over other officers for no apparent reason). His corresponding UFR not only fails to explain

8    these deployments, it fails to mention them at all. ECF 146-4 at 132. Other footage shows blast

9    balls detonating in or near the crowd of protestors, corroborating Plaintiffs’ evidence, but the

10   City provides no explanation or justification for their use.

11           Because the Plaintiffs have shown clear and convincing evidence that the City deployed

12   LLWs restricted by the Court’s orders on multiple occasions, and because the City has failed to

13   adequately justify these deployments, the City has failed to show substantial compliance and

14   should be found in contempt.

15           2.     The City’s Purported Justifications for Using Less-Lethal Weapons Against
                    Protesters Are Insufficient to Show Substantial Compliance.
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             The City’s failure to address many of the alleged violations in Plaintiffs’ motion is
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     sufficient to grant the motion. But the City also fails to demonstrate compliance with respect to
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     the LLW deployments the City actually addresses.
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             First, the City repeatedly attempts to justify LLW deployment based on alleged protester
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     misconduct that does not pose a “specific imminent threat of physical harm” to a police officer or
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     identifiable others and was not a “specific act of violence or destruction of property.” E.g., ECF
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     148 ¶ 32 (stating that blast ball was deployed “to create separation between the officers and the
23
     crowd”); ECF 137, Ex. B at 1:07 (corresponding video); ECF 146-1 at 48 (justifying OC spray

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1    deployment for failure to move back); ECF 144 at 10 (same); id. at 11 (stating officers used blast

2    balls and OC spray to “keep the crowd moving”); ECF 145, Ex. B (“Video B”) at 47:50

3    (showing officer spraying back of protester); ECF 146-4 at 165 (stating that blast ball was

4    thrown “to keep [protesters] from organizing”).

5            On September 7, for example, 80 SPD officers ambushed a peaceful protest under the

6    pretense of attempting to arrest a single protester who allegedly had a Molotov cocktail. See ECF

7    144 at 9-10; Video B.5 Officers OC sprayed protesters recklessly and in a manner plainly

8    inconsistent with the Court’s Orders. See Video B at 24:09 (showing Didier OC spraying woman

9    filming him), 24:21 (showing Didier OC spraying Plaintiff Chen while she films and retreats),

10   26:48 (showing Didier OC spraying people as he bikes into crowd), 29:40 (showing officers

11   repeatedly OC spraying retreating crowd), 36:17 (same); ECF 146-2, Ex. B at 283 (stating “I

12   used pepper spray to move individuals in the crowd”).

13           Second, even if LLW deployments were justified to prevent property destruction or a

14   specific imminent threat of physical harm, SPD repeatedly deployed LLWs indiscriminately and

15   disproportionately in response. See Video B at 28:12 (showing Didier throwing blast ball into the

16   crowd after asking who threw a rock and another officer responding he did not know), 28:10

17   (showing numerous blast balls detonating next to retreating crowd), 30:37 (showing Didier

18   lobbing blast ball into crowd), 33:53 (showing blast balls thrown indiscriminately into retreating

19   column of people), 48:57 (showing Eastman throwing blast ball across three lanes of road at

20   crowd), 1:02:07 (showing Dorr removing pin from blast ball, waiting 30 seconds to throw it into

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     5
22     The few bags of garbage placed along the parking lot fence are a red herring. SPD does not allege LLWs were used
     in response to the bags and SPD made no effort to address the bags at the time. The City attempts to connect
     Plaintiff Chen with a protester who threw a garbage bag over the fence “a few moments later” (Video B at 4:11) by
23   editing out three intervening minutes, without notice to the viewer. See Video B at 3:30; Supp. Decl. of Alexandra
     Chen at ¶¶ 4-11.

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1    crowd with no clear provocation or target); Video C at 24:50 (showing multiple officers spraying

2    entire line of protesters retreating), 47:55 (showing blast ball thrown into crowd), 52:23-45

3    (showing blast ball thrown to “disperse crowd”). In addition to not being targeted or in response

4    to a specific threat of imminent harm, many of these deployments appear to be for the purpose of

5    re-routing the protest, in violation of the Clarified PI Section 6.1.a. E.g., ECF 146-2, Ex. B, at 43

6    (“Lt. Brooks ordered the use of OC and blast balls to continue pushing the crowd”), 283 (“I

7    deployed blast balls to move the crowd”).

8             Third, the City repeatedly claims that LLWs were deployed “in response” to acts that

9    were far in time or location from SPD’s deployment of force.6 Minutes or hours elapsed between

10   the alleged precipitating act and deployment; in many instances, the act and deployment were

11   blocks apart. E.g., ECF 148 ¶¶ 15-16 (connecting property destruction resulting in arrests to Aug.

12   26 vigil that began approximately 90 minutes later and 1.9 miles away from arrests); id. ¶¶ 30-33

13   (connecting protesters on Sept. 22 allegedly surrounding SPD vehicles and the later deployment

14   of a blast ball); see generally Video C (attempting to justify deployments of LLWs based on

15   unrelated thrown objects, fireworks, and trash can fires). An alleged act of property destruction

16   or violence by a protester does not give SPD carte blanche to use LLWs against that person or

17   the crowd anywhere and at any time after that.

18                                               II.      CONCLUSION
              Because Plaintiffs have presented clear and convincing evidence of multiple incidents of
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     SPD officers violating this Court’s orders, and because the City has failed to show how such
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     actions substantially complied with the Orders, Plaintiff’s Motion should be granted.
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      The City’s editing of the videos makes it difficult to understand how events relate to each other temporally. There
     were 20 instances in Video B and 15 in Video C where the surveillance or body-worn video was edited to remove
23   anywhere from 30 seconds to 30 minutes of video without warning to the viewer. Cutting video between thrown
     objects or fireworks and deployments of LLWs could imply more correlation between events than is warranted.

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